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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA

vs. NO. l:O4-lOO3S-OZ-T

ELTON NANCE

ORDER DISMISSING COUNTS
Upon motion cf the United States Attorney and for good cause
shown, it is,
ORDERED that Counts 48 and 73 of the Superceding Indictment,
as to the Defendant, Elton Nance, be and are hereby dismissed.

IT IS SO ORDERED.

CWD'W

JAMES TODD
UNITE STATES DISTRICT JUDGE

DATE: 13 igsz ;)#@”DI/

Tbhdmmmpm
entered on the dock _
with Rule 55 and/cr 32{b) Fncrp on at shm__':)¢°mpl[ance g

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Notice of Distribution

This notice confirms a copy of the document docketed as number 117 in
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J eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. BOX 3146

Jackson7 TN 38303

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

